      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 1 of 7 Page ID #:72



1    NICOLA T. HANNA
     United States Attorney
2    LAWRENCE S. MIDDLETON
     Assistant United States Attorney
3    Chief, Criminal Division
     JULIA S. CHOE (Cal. Bar No. 287038)
4    Assistant United States Attorney
     General Crimes Section
5         1100 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-6530
7         Facsimile: (213) 894-0141
          E-mail:    Julia.choe@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                  No. 5:17-239-PA

13             Plaintiff,                       ORDER REGARDING
                                                DISCOVERY CONTAINING CONFIDENTIAL
14                   v.                         INFORMANT AND/OR COOPERATING
                                                WITNESS INFORMATION
15   MELVIN EDWARDS, III,
     Aka Melvin Thai Edwards,
16   Aka Jack Edwards,
17             Defendant.

18

19        The Court has read and considered the Stipulation and Joint
20   Request for a Protective Order Regarding Discovery Containing
21   Confidential Informant Information, filed by the government and
22   defendant MELVIN EDWARDS, III (“defendant”) in this matter on
23   February 7, 2018, which this Court incorporates by reference into
24   this order, and FOR GOOD CAUSE SHOWN the Court hereby FINDS AND
25   ORDERS as follows:
26        1.   The government’s discovery in this case relates to
27   defendant’s alleged crime, which includes a violation of 18 U.S.C.
28
                                            1
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 2 of 7 Page ID #:73



1    § 922(g)(1): Felon in Possession of a Firearm and Ammunition.

2         2.   Certain parts of the discovery in this case relate to

3    confidential informants and/or cooperating witnesses, and as such the

4    discovery may contain personal identifying information.           The

5    dissemination or distribution of these materials could compromise the

6    ability of the confidential informants and/or cooperating witnesses

7    to participate effectively in future investigations in an undercover

8    capacity, and it could expose them to potential safety risks.

9         3.   The Court finds it is appropriate, therefore, for a

10   Protective Order that would allow the government to produce discovery

11   related to the confidential informants and/or cooperating witnesses,

12   but places limitations on defendant’s access to the discovery without

13   defense counsel present.

14        4.   The Court agrees that a protective order as requested by

15   the parties will serve the government’s interest in preserving the

16   effectiveness and safety of confidential informants and/or

17   cooperating witnesses, while permitting the defense to understand the

18   government’s evidence against defendant.

19        5.   Accordingly, the discovery related to confidential

20   informants and/or cooperating witnesses that the government will

21   provide to defense counsel in the above-captioned case will be

22   subject to this Protective Order, as follows:

23             a.    For purposes of the Protective Order, the term

24   “confidential materials” includes any information relating to a

25   confidential informant’s or cooperating witness’s prior history of

26   cooperation with law enforcement, prior criminal history, or any

27   other information that could be used to identify a confidential

28
                                            2
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 3 of 7 Page ID #:74



1    informant or cooperating witness, such as a name, address, date of

2    birth, Social Security number, driver’s license number, telephone

3    number, account number, or personal identification number.            The term

4    “Protected Information” refers to any document or information

5    containing confidential materials that the government produces to the

6    defense pursuant to the Protective Order.

7              b.    For purposes of the Protective Order, the term

8    “defense team” refers to (1) defendant’s counsel of record, (2) other

9    attorneys at defense counsel’s law firm who may be consulted

10   regarding case strategy in the above-captioned matter, (3) defense

11   investigators who are assisting defense counsel with this case, (4)

12   retained experts or potential experts, and (5) paralegals, legal

13   assistants, and other support staff to defendant’s counsel of record

14   providing assistance on this case -- all of whom have been advised of

15   their obligations under the Protective Order and have affirmed to

16   defendant’s counsel of record that they agree to be bound by the

17   terms of the Protective Order.      The term “defense team” does not

18   include defendant, his family members, or any other associates of

19   defendant.

20             c.    Defendant’s counsel of record agrees to advise all

21   members of the defense team of their obligations under the Protective

22   Order and ensure their agreement to follow the Protective Order,

23   prior to providing members of the defense team with access to any

24   materials subject to the Protective Order.

25             d.    The government is authorized to provide defendant’s

26   counsel of record with Protected Information marked with the

27   following legend: “CONTENTS SUBJECT TO PROTECTIVE ORDER.”           If

28
                                            3
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 4 of 7 Page ID #:75



1    defendant objects to any such designation, he may do so by

2    application to the Court upon duly noticed motion, following meeting

3    and conferring with the government regarding the objection.

4               e.   Defendant may review Protected Information in this

5    case only in the presence of the defense team, and the defense team

6    shall ensure that defendant is never left alone with any discovery

7    subject to the Protective Order.       Defendant may see and review

8    Protected Information in the presence of the defense team, but

9    defendant may not copy, keep, maintain, or otherwise possess any of

10   such Protected Information in this case at any time.          Defendant must

11   return any Protected Information to the defense team at the

12   conclusion of any meeting at which defendant is permitted to view the

13   Protected Information.     Defendant may not take any Protected

14   Information out of the room in which he is meeting with the defense

15   team.   Defendant may not write down or memorialize any confidential

16   materials contained in the Protected Information.          At the conclusion

17   of any meeting with defendant, the defense team shall take with him

18   all Protected Information.      At no time, under no circumstance, will

19   any Protected Information be left in the possession, custody, or

20   control of defendant, whether he is incarcerated or not.

21              f.   The defense team shall not permit anyone other than

22   the defense team to have possession of Protected Information,

23   including defendant himself.

24              g.   The defense team shall access and use Protected

25   Information for the sole purpose of preparing for trial or any

26   related proceedings in this case.       The defense team may review

27   Protected Information with a witness or potential witness in this

28
                                            4
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 5 of 7 Page ID #:76



1    case, including defendant, subject to the requirement above that

2    defense counsel must be present if Protected Information is being

3    shown to defendant.    Before being shown any portion of Protected

4    Information, any witness or potential witness must be informed of,

5    and agree in writing to be bound by, the requirements of the

6    Protective Order.    No witness or potential witness may retain

7    Protected Information, or any copy thereof, after his or her review

8    of those materials with the defense team is complete.

9              h.    The defense team shall maintain Protected Information

10   safely and securely, and shall exercise reasonable care in ensuring

11   the confidentiality of those materials by (1) not permitting anyone

12   other than defense team members and defendant as restricted above to

13   see Protected Information, (2) not divulging to anyone the contents

14   of Protected Information, and (3) not permitting Protected

15   Information to be outside the defense team’s offices, homes,

16   vehicles, or personal presence.

17             i.    To the extent that notes are made that memorialize, in

18   whole or in part, the confidential materials in any Protected

19   Information, or to the extent that copies are made for authorized use

20   by members of the defense team, such notes, copies, or reproductions

21   become Protected Information subject to the Protective Order and must

22   be handled in accordance with the terms of the Protective Order.

23             j.    The defense team shall use Protected Information and

24   materials otherwise identified as containing confidential materials

25   only for the litigation of this matter and for no other purpose.

26   Litigation of this matter includes any appeal filed by defendant and

27   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

28
                                            5
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 6 of 7 Page ID #:77



1    event that a party needs to file Protected Information or materials

2    otherwise identified as containing confidential materials with the

3    Court or divulge the contents of such materials in court filings, the

4    filing should be made under seal.       If the Court rejects the request

5    to file such information under seal, the party seeking to file such

6    information shall provide advance written notice to the other party

7    to afford such party an opportunity to object or otherwise respond to

8    such intention.    If the other party does not object to the proposed

9    filing, the party seeking to file such information shall redact the

10   confidential materials and make all reasonable attempts to limit the

11   divulging of confidential materials.

12             k.      Defendant and the defense team also agree that any

13   confidential materials produced in the government’s discovery prior

14   to the date of the Protective Order shall be deemed covered by the

15   terms of the Protective Order.

16             l.      Upon the final disposition of this case, any Protected

17   Information and materials otherwise identified as containing

18   confidential materials shall not be used, in any way, in any other

19   matter, absent a court order.      All materials designated subject to

20   the Protective Order maintained in the defense team’s files shall

21   remain subject to the Protective Order unless and until such order is

22   modified by court order.     Within thirty days of the conclusion of

23   appellate and post-conviction proceedings, the defense team shall

24   return Protected Information and materials otherwise identified as

25   containing confidential materials to the government or certify that

26   such materials have been destroyed.

27

28
                                            6
      Case 5:17-cr-00239-PA Document 19 Filed 02/08/18 Page 7 of 7 Page ID #:78



1               m.    In the event that there is a substitution of counsel

2    prior to when such documents must be returned, new defense counsel

3    must join this Protective Order before any Protected Information or

4    materials otherwise identified as containing confidential materials

5    may be transferred from the undersigned defense counsel to the new

6    defense counsel, who then will become the defense team’s custodian of

7    materials designated subject to the Protective Order and who shall

8    then become responsible for returning to the government or certifying

9    the destruction of all Protected Information and materials otherwise

10   identified as containing confidential materials upon the conclusion

11   of appellate and post-conviction proceedings.

12        IT IS SO ORDERED.

13

14      February 08, 2018
15   DATE                                   THE HONORABLE PERCY ANDERSON
                                            UNITED STATES DISTRICT JUDGE
16
     Presented by:
17
      /s/
18   JULIA S. CHOE
     Assistant United States Attorney
19

20

21

22

23

24

25

26

27

28
                                            7
